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  EXHIBIT 5
FANTASTIC    FANZINE 11
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     STERANKO                                           STERANKO-0155
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                             CLUB MEMO'S                                    INDENTIA:
                               BY GARY GROTH
                                                                            Fantastic Fanzine # 11: 75¢ @. -
                                                                            issue due out June 20th. IOCC
                                                                            bership: $1 .50 for the year of
                                                                            Subscriptions to FF: $ 3 . 00 £c~
                                                                            issues; $ 6.00 f or 10 i ssues. P:e-~
                                                                            s p ecify wh ich issues yours !s -
                                                                            start on. Headquarters: 7263:
      Welcome once again to the thresholds of the Fantastic Fan-            ston Road , Springfield, Va. 2~:-
zine. Before I start apologizing for the lat eness of this issue ,          Back issue s ava ilable: 6*7, z9 , _
I'd like to explain, right away, why this issues editorial (or              al l 60¢ each; FF Special: $1.o-.
rather the start of this issues editorial) is placed smack dab in           other back issues ava ilab le:
the middle oftne Cont e nts page.    The explanation is really quite        the content s of this fan magaz_
simple; Dave Cockrum's beautiful centerspread breaks this maga -            is the copyrighted property of G-
zine into two nice, even parts (25 pages to each section) ; I               G. Groth and no part of this
didn't want to break up the continuous "rythm" of o ur STERANKO IN-         lication may be repr i nted wi7~
TERVIEW by splitting it up (probably at a very int e resting part)          the written p ermission from the __
by the c ent erspread . I wanted to keep the interview and por tfo lio      itor! Al l dr awings in th is i=-
on one side of the book, and I, o f course couldn't do that i f I           are t he copyrighted property
printed a 3 page Club Memo's section on pages 3, 4 & 5. (In fact,           their pub lisher (Nat ional, Mar,e_
I originally was planning on saving the first 20 pages of this
ish just for STERANKO, his interview, portfolio, and the critiques
alalyzing his artwork, but the i nterview was so long that I was
forced to place the four page GRAPHIC CRITIQUE on the f our pages
follow ing Daves THUNDER Agents spread. Oh wel l , I tried ... )
                                                                            TERANKO-0156
                                Club Memo's continued on pag e 32 ....
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'ya have a plug here?" He quickly answered,                             On his drafting table was the almost
•NO:" I turned around frantically, looking a-
    1                                                             finished painting, printed as the cover for
round the room, back to Jim, and then around                      Lancer's new book, INFINITY ONE:
the room again, stammering Wha ... Wha ... Wha ...
all the time. He let me suffer for a few min-                           After a long talk with Jim in his studio
utes , and then calmly said, "Of course I have                    we returned to the (ugh) taoe recorder. I fin-
a plug. It's right over there", A couple sighs                    ally got it working again, put in a new tape,
of relief later the interview began.                              and we were off again! After fini shing the
                                                                  whole thing, we both let loose with a sigh of
       The entire interview took no more than 3                   relief (Jim probably more so than myself).
hours. I was shooting Jim questions as fast as
he could answer them.     All throughout the in-                        It was about 6:30 (p.m.) by now, and we
terview,    the tape recorder sputtered      and                  had a long way to go, before we reached home.
wheezed . The cause became quite clear when the                   I bid him farewell, warning him that I'd see
tape started clogging up and squeezing out of                     him again one day.
the cartridge. The caricature to the left, by
Robert Kline is only a slight exageration of                                          * * *  * *
                                                                        Although I inj ec ted humor into this in-
the plights Jim and I encountered during this
in terview.                                                       troduction,   I'd like to ma k e perfectly clear
                                                                  that that day was on e of the most exciting in
       Finally the cartridge wouldn't turn,  it                   mt life.  It was a great thrill for me to meet
was so bogged up with tape, and we turned it                      STERANKO, whose art I admired in comics - ever
off.   I vainly tried to pop the cartridge out,                   since Strange Takes 151. And I can't thank Jim
which only made matters worse in the long run,                    enough for all the help he's been with this
so Jim told me to forget the recorder for a-                      issue. Would you believe it? Jim editted his
while, and invited me back into bis studio for                    interview from start to finish,    and certainly
a look-see. It was a large room in the back of                    did a better job than I could have ever done.
his apartment, made to look smaller with the                      I'm sure that this deep appreciation doesn't
wea lth of books, magazines, comics, pulps, and                   come just from me, but from all your many fans
other related material (including swords, guns                    who have admired you and your work in---ui"e past
and original Wally Wood artwork) stowed within                    and who are going7:"o read your interview now.
its book shelves.                                                 So, start reading, and enter the world of JIM
                                                                  STERANKO:




                 INTERVIEW& JIM STERANKO CONDUCTED                                BY GARY GROTH
                                                                          when I was a kid, I wouldn't say.
    GARY: Well,  Jim to start the interview off,
          could you give us a brief run down of                   GARY: Have you always lived in Pennsylvannia?
          your career as an artist?
                                                                   JIM:   I think I just answered that question,
        JIM:   I wasn't aware I had a run down career.                    didn't I? Yeah, I always lived in Penn-
               But to answer your question,    I've don e                 sylvannia. This is my town.
               just about every art j ob , commercia l art
               job that is available. I've been drawing            GARY: To pu t it   bluntly ,    why   have you left
               ever since I was a kid. The first draw-                   Marvel?
               ings I remember were Flying Tigers,
               which were what? "P. 38'S" or something             JIM:   I'm working for Marvel. I just turned in
               like that? And ever since then, I've on-                   a romance story for them.
               ly made my living at art, one way or a -
               nother.                                             GARY: Then, you haven't left them at a ll ?!?

        GARY: What did you do before you went to Mar -             JIM:   No,    I just finished a story for th em. I
              vel to earn a living?                                       int end to do some more things ..... God be
                                                                          willing.     I'll be working there for a-
        JIM:   Let's see. Before I worked for Marvel, I                   wh il e because I like to tell st~ries.
               was an Art Director at an ad agency for                    The reason I had a littl e altercat ion
               a few years. I worked as a sign painter.                   with them is becaus e they editted some
               I worked as an illustrator.  I worked as                   o f my work. Th ey changed certain things
               a free lance artist, a printer. As a de-                   that I didn't f eel should be changed.
               signer. And that's about it.
                                                                          And I insisted that we couldn' t continue
        GARY: What about your boyhood background?                         on tha t basis .   An y work that I turned
                                                                          in ,  I insisted be l eft exactly the way
        JIM:   What about it?                                             it was .   For example, my horror story,
                                                                          " At The Strok e of Midn ight" , had a line
        GARY: Well, for starters, when and where were                     of diologue added. The meek husband said
              you born?                                                   "I'm nervous because it's closer to mid-
                                                                          night" or something like that; simply a
        JIM:   I was born thirty years ago, right in                      gratuitous line.    It wasn't my title and
               this town, in Rea ding. Being an old tim-                  I didn't have that line in it. And it
               er now, I mean,   I've lived here all my                   had nothing t o do with the story. Stan
               life ..• Local boy makes good," And so,                    originally wanted that story to be call-
               I've traveled around the country.       I                  ed "Let Them Eat Cake", which I didn't
               haven't done anything really exceptional
                                                             11
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                   - . ro f essional.    I preferred art i n
                       human figures dominated the scene
                            bac kgrounds were kept simple and
              _-:;;:-ed.    in the manner of Carmine Infan-
                   -=~ on th e Flash.        However,  I soon
--:.:::.~:.:::;:--~ -nat wh i l e simplicity might be aesth-
      -=-. :;:         e a si ng in most cases,   I was going
                   ~o co ncoc t a special set of standards
                  : co ld at tempt to understand this man
                         For th e time being,   it was enough
                       a cknow ledge that his was the best
                         race the SHIELD strip:

            :,ears lat e r,    Jim Steranko was the
           e~ about artist in Fandom. SHIELD had
           - en t y page monthly magazine, written
          _ by St eranko.       It wasn't until some
         -~=  that, that the excitement he gener-
         :~ .o    s ub side, and fandom began to ask
            ~e really had accomplished anything
         -=
          = the or dinary after all. Perhaps only
              ob ject ive evaluation of his work be
                                                                             HE COULDN'T WAIT"
                                                                        11


        _ _ ~s i n te resting to note    that Steranko
                l ike he draws. In both his art and                                by Dwight Decker
                   he has a tendency to s t ray from
        --':,C~ a l i t tle . It's as if minor details
                t ent ion,    and he moves in to get a
          : oo~, som etimes neglecting his appoint-
             - adv an cing a story plot.                                Steranko has left comics for good , they
                                                                 say . Paperbacks and pulp magazines are his new
                              three , for example.    At         playground.
                              appears to be more inter-
                    mys t eriou s Rachel than in pitting               One may not care for Ster anko as a per-
      -".:"'-- ~ - v il lain. Then at the end, when he           son. The personality he displays in his inter-
        - ~i plot has not advanc e d much from                   views has b e en too flipant, too casual ... al-
                                                                 most callous        that of a hedonistic swinger
      ==--e~ ng he i s forced to wrap the tale up
                    f ull page flashback scene
      -- =~: y on e p anel, he introduces the real
                                                   (page         who takes his talents and abilities too much
                                                                 for gran t ed,  not realizing quite what it is
               =o l l ows h im through 25 years of his           that flows through his fingers.
         - =-s his most recent diabolica l mach-
                and destr o ys him.      Another writer                 Yet,  in the field of creative endeavor,
                  d evo ted less space to the Hell-              t he Sunday School Platitudes are over - turne d.
         - -~e~y si n ce it is,        after all, only a         It means nothing what a man is.     It is only
                  art of the villains threat to Fury             what he can do that matters. And Steranko can
                 -   d,                                          do.

              ~ake SHI ELD one , where the tragedy of                     It is tragic that a talent such as his
                a most supplants the clash between               is leaving the comic book,       because in only
                o rpio as the thing that the story               two short years he left an influence that will
                                                                 be there in comics for some years to come.     If
                                                                 he had only remained, and had been given freer
             ~ot s ayi ng it's wrong , this tendency             r e ign,   he would have force-fed the field with
         - · o• s to concentrate on one smal l as -              a new life and vitality.
       -~ s ~or y or a picture. But it certainly
       -~e:-at i n g to someone who was brought up                     Well,  he's gone now.    Comic books are
         =~-ion al c omics with stories in whi c h               still generally the same warmed - over, Code-
        ~ · a p lot and one or more sub - plots,                 sanitized cliches , tiredl y ground out by dis-
         --ir::ich knew its proper importance rela-              interested hack writers and hack artists, pub-
      -- ---=:e        p lot.    But perhaps the most            lished by frightened,   unambitious little men
----- -=~        cont ribution Jim Steranko can make             scared to take any chances or make any experi-
                                                                 ments, content with each years slowly dimin-
        ~- onst ra te that in the realm of art
                 such t hi n g as right and wrong . '            ishing income and circulations.

                                                                       Steranko wasn't afraid. He innovated he
                                                                 devised, and he dreamed       only to see ~hat
                                                                 the editors did to it. Only to see how little
                                                                 he was paid for it.

                                                                        So he left.

                                                                         Ditko faced the same frustrations , and
                                                                 where is he now ... ? At Charlton, drawing tired
                                                                 repet i tious j u ngle, western and war pointless-
                                                                 ness .    Perhaps he is staying with the comic
                                                                 book in hopes that some day he will be allowed
                                                                 to create freely.


                                                            31
                                                                        But Steranko is young,and he can't wait.

                                                                                       STERANKO-0184
